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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 21-CR-60253-KMM

   UNITED STATES of AMERICA,

         Plaintiff,
   v.
   LAWRENCE ALEXANDER,

         Defendant.
                                       /
            LAWRENCE ALEXANDER’S SENTENCING MEMORANDUM
         Defendant Lawrence Alexander, through counsel, respectfully submits this

   memorandum addressing sentencing in his case.

                            18 U.S.C. § 3553(a) Sentencing Factors

         In reaching an individualized sentencing decision, see Koon v. United States, 518 U.S.

   81, 113 (1996), regarding the least restrictive sentence necessary under 18 U.S.C. §

   3553(a)(2), the Court may conclude that a guideline sentence is “greater than necessary to

   serve the objectives of sentencing.” Kimbrough v. United States, 552 U.S. 85, 91, 101

   (2007). Notably, the U.S. Sentencing Commission approved, on April 5, 2023, a two-level

   reduction in the guideline offense level applicable to defendants who have zero criminal

   history points and meet other conditions (all met by the defendant in this case). The new

   guideline reduction is scheduled to become mandatory on November 1, 2023.               See

   https://www.ussc.gov/guidelines/amendments/adopted-amendments-effective-november-

   1-2023; see also United States Sentencing Commission News Release, April 5, 2023,

   https://www.ussc.gov/about/news/press-releases/april-5-2023.     The approved guideline
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   amendment, under U.S.S.G. § 4C1.1,1 exemplifies a finding that the guideline range may be

   greater than necessary. Additional factors discussed in this memorandum, including the

   attached letters from those who know of Lawrence Alexander’s life story, his contributions

   to the health and recovery of persons with spinal injuries (including not just athletes, but

   people from all walks of life), and the steps he has taken since the events in this case to be

   a better person, are relevant to sentencing and also a sentence below the guideline sentencing

   range.

                              History and Characteristics of the Defendant

            Lawrence Alexander’s life story is related in the presentence report. He was raised



            1
           Congress has not rejected a proposed guideline amendment since 1995, with regard to the
   crack/powder disparity. And even as to that one rejection in the 35-year history of the guidelines,
   Congress later provided even greater relief statutorily. The Sentencing Commission explains the
   new guideline as follows:

            Part B of the proposed amendment sets forth a new Chapter Four guideline at §4C1.1
            (Adjustment for Certain Zero-Point Offenders). New §4C1.1 would provide a
            decrease of 2 levels from the offense level determined under Chapters Two and Three
            if the defendant meets all of the following criteria: (1) the defendant did not receive
            any criminal history points from Chapter Four, Part A; (2) the defendant did not
            receive an adjustment under §3A1.4 (Terrorism); (3) the defendant did not use
            violence or credible threats of violence in connection with the offense; (4) the offense
            did not result in death or serious bodily injury; (5) the instant offense of conviction
            is not a sex offense; (6) the defendant did not personally cause substantial financial
            hardship; (7) the defendant did not possess, receive, purchase, transport, transfer, sell,
            or otherwise dispose of a firearm or other dangerous weapon (or induce another
            participant to do so) in connection with the offense; (8) the instant offense of
            conviction is not covered by §2H1.1 (Offenses Involving Individual Rights); (9) the
            defendant did not receive an adjustment under §3A1.1 (Hate Crime Motivation or
            Vulnerable Victim) or §3A1.5 (Serious Human Rights Offense); and (10) the
            defendant did not receive an adjustment under §3B1.1 (Aggravating Role) and was
            not engaged in a continuing criminal enterprise, as defined in 21 U.S.C. § 848.

   https://www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-amendments/20
   230405_prelim-RF.pdf.

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   in a working family environment where financial struggles arose from health issues faced by

   his father, who passed away just three weeks ago. (Lawrence had funded his father’s nursing

   care for several years and remained close with his father; funeral services have not yet been

   conducted.)

          Lawrence has lived in South Florida since he was nine years old. He graduated from

   Palmetto High School, then went to college on a wrestling scholarship at the University of

   North Carolina (Greensboro). At college, his interest in providing health care to others

   developed from his experiences as an athlete and his interactions with supportive friends and

   family. Lawrence is the eldest of three children, all brothers, and was the first of the three

   to choose health care as his professional goal. His two brothers have followed him into the

   health care field and stand by him wholeheartedly. His family has remained hard working,

   and his siblings have followed him in succeeding educationally and professionally.

          Lawrence is a father (of sons Nathaniel, 20, and Derek, 6) 2 and a surgeon, whose

   success in his profession has come from performing complex health-restoring operations on

   the spine and serving in teaching, mentoring, and other valued medical-surgical roles at

   excellent medical centers, including the Cleveland Clinic, since obtaining his medical degree

   from New York University and engaging in post-graduate work at the University of North

   Carolina (Chapel Hill).

          Lawrence’s patients’ praise for his dedication and successful results as an orthopedic



          2
             From a very young age Lawrence was diagnosed as being on the autism spectrum.
   His son, Nathaniel, faces that same condition, but, like his father, he is overcoming it and is
   presently in college. See PSI ¶¶ 118–19.

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   surgeon, specializing in spinal surgery, is well known in the community and is attested to in

   letters submitted to the Court. See Appendix (sentencing letters), attached. Lawrence’s

   patients, coworkers, family, and friends offer the best view of his personal characteristics.

   His sister-in-law, Lexi Alexander, relates how the family has found it difficult to reconcile

   the charge with the person they know; she has seen Lawrence as a “dedicated physician” and

   hopes that “he can return to his family and continue providing service to clients in need.”

          Lawrence’s mother describes how he saved her life when she had a heart attack, for

   which she needed eight stents to produce blood flow. She knows him as “a healer, a son, a

   father, a caring human being.” A friend, Eric Feldman, notes that in circumstances where

   payment was unavailable, he “has graciously waived his surgical fee, and assisted my office

   in convincing the surgical center and anesthesiologist in waiving theirs. He is always

   available to see patients for a follow-up appointment without charge, or to answer their

   questions or give advice on their medical diagnoses and/or prognosis.” Attorney Lee

   Friedland explains that he has seen Lawrence provide testimony regarding injured patients

   and that “we would find his testimony, both on and off the record, reflecting the reality of

   the injuries with a sense of fairness appreciated by the Defense bar.” He sums up his view

   of Lawrence: “What marks our two-decade relationship is his decency and caring when it

   comes to patient care. Often at personal expense, Dr. Alexander would go above and beyond

   without concern for financial remuneration to assure that patient care was foremost.”

          LaToya Friday, whose son was injured and needed care, says he has “a very kind

   heart.” “He facilitated and provided care for my son on his own time. He was truly an angel

   and God send [and] continued to check on my son and his progress over the years.” Lisa

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   Carroll, a friend for more than ten years, describes him as “always kind and generous to his

   co-workers, family and friends” and has observed his concern for his patients.

          Matthew Alexander, Lawrence’s brother, speaks of “35 plus years of experiences and

   situations that we have worked and helped one another through” and of Lawrence’s carrying

   on in a “profession in which the slightest error is catastrophic and very possibly fatal. This

   is a role he has burdened himself with for years to provide care and relief to people in

   desperate need of help.” On a personal level, Lawrence “has always been a present and

   loving uncle to my two children. Lawrence has even been a beacon for his friends around

   him to the possibilities that can come from dedicating yourself to a goal and working

   tirelessly towards that mark, even if that goal is one of the most difficult to attain.”

          Reverend Robert Morrow of LifePoint Church in Sunrise, Florida, has seen “a

   meaningful change in [Lawrence’s] life over the past few years.” Rev. Morrow relates:

          He has been faithfully attending church services weekly and committing to
          weekly accountability and spiritual support meetings with me. He has also had
          an incredibly positive impact on this community. He has donated both time and
          resources to better our community and the people of Broward County. He has
          specifically been a major influence in helping to be a part of a launch of a
          non-profit organization called ECHO (Everyday Christians Helping Orphans)
          that provides tangible needs to kids and families that are in foster care and
          adoptive care in Broward County. We view Dr. Alexander as a positive
          influence and contributor to this community and we are grateful for him and
          his family. I will personally continue weekly meetings with him to help
          encourage him and keep him accountable in moving forward in his life for the
          better.

          Lawrence’s efforts to help provide care extend to his time in college in Greensboro.

   While in college, he became close with the family of Judith and Wes Murray, through church


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   involvement. Michael Murray, a young teenage son of the Murrays during Lawrence’s

   college years, saw Lawrence as a big brother who helped Michael come to be more

   understanding of the health problems faced by Michael’s father and who helped turn Michael

   away from bad influences. Michael saw the caring instinct in Lawrence throughout

   Lawrence’s college years and he credits Lawrence with helping to make Michael successful.

   Michael now works in a governmental position assuring quality care for the disabled.

          Need for the Sentence to Reflect the Seriousness of the Offense, Promote Respect for
          the Law, and Provide Just Punishment

          The focus of Lawrence’s professional life has been providing relief for spinal injuries.

   While so many who suffer such injuries turn to addictive drugs to fight pain—with painkiller

   prescriptions now a leading cause of death in this country—Lawrence’s surgical intervention

   commonly involve providing permanent relief from debilitating pain, and in that way has

   helped curb opiate abuse by reducing or eliminating the need for the pain medication. Today,

   widespread prescription opiate abuse is recognized in much the same serious way that heroin

   addiction was viewed decades ago. But today, with heroin-like pills so accessible, the

   problem is even greater and more pervasive. Lawrence has spent his professional life on the

   right side of that fight, and his patients have responded with praise and appreciation.

          The tasks of imposing just punishment and promoting respect for the law are related.

   The First Circuit in United States v. Prosperi, 686 F.3d 32, 48 (1st Cir. 2012), presaging the

   new guideline amendment to U.S.S.G. § 4C1.1, approved of the district court’s reasoning that

   there is inherent punishment to a person who is part of the criminal justice system for the first

   time, and that where the defendant has shown that there is no reason to believe the first


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   experience with the criminal justice system will be repeated, leniency is warranted. This

   Court may also consider loss of profession and reputation when determining a fair sentence.

   See, e.g., United States v. Gaind, 829 F.Supp. 669, 671 (S.D.N.Y. 1993) (granting downward

   departure where defendant was punished by the loss of his business). As a result of this

   prosecution, Lawrence’s lifelong profession and calling may no longer be available to him

   no matter the sentence imposed.

          Under 18 U.S.C. § 3353(a)(2)(B), consideration must be given to the need for the

   sentence to afford adequate deterrence in the context of the case. Research studies show that,

   at least in some cases, the severity of punishment does not have as much of a general

   deterrent effect on crime as the fact of being apprehended and prosecuted. Under 18 U.S.C.

   § 3553(a)(2)(C), the Court must weigh the need to protect the public from further crimes of

   the defendant. But general studies, and the past four years of Lawrence’s life, show that he

   is the type of person who is least likely to again face criminal accusations. According to a

   United States Sentencing Commission report, people are less likely to have new criminal

   conduct when they fall into the following categories: when they have stable, loving and

   supportive relationships; are college graduates; are sentenced under the fraud guidelines; are

   non-violent offenders; are first time offenders; are employed; and are non-drug users.

   Lawrence fits squarely within these categories.

          More generally, there is recognition that the harsh sentences recommended by the

   guidelines for white collar offenders are not backed by empirical support. When “Guidelines

   do not exemplify the Commission’s exercise of its characteristic institutional role,” because

   the Commission “did not take account of empirical data and national experience,” the

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   sentencing court has the discretion to conclude that the guideline “yields a sentence ‘greater

   than necessary’ to achieve Sec. 3553(a)’s purposes, even in a mine-run case.” Kimbrough,

   552 U.S. at 109-10 (internal citations omitted). In a recent fraud case in this district, the

   court recognized that “[t]he Sentencing Guideline applicable to this case, §2B1.1, was not

   based upon empirical evidence. The lack of empirical evidence supporting guideline 2B1.1

   weighs in favor of varying from the suggested sentence produced by the fraud loss table.”

   Doc. 459 at 10, United States v. Javat, Case No. 18-CR-20668 (S.D. Fla. Dec. 17, 2019)

   (Middlebrooks, J.). In another recent high-loss economic crime case in this district, the court

   commented at sentencing: “[T]he guidelines are, you know, I think draconian is understating

   it. The guidelines are ridiculous.…I don’t see any… defendants that could live long enough

   to do the time that is considered by the guidelines.” Sentencing Tr. at 3-4, Doc. 569, United

   States v. Kallen-Zury, Case No. 12-CR-20757 (S.D. Fla. 2013) (Martinez, J.).

          Lawrence urges that the Court consider all of the above factors in analyzing how

   strongly the offense of conviction weighs in favor of various sentencing choices: Lawrence’s

   core professional goals that have defined his life, doing good work for the health of the

   community, have been his focus; he now faces the loss of his practice and will suffer a

   personal loss of enormous significance in that regard entirely apart from the sentence itself,

   in that losing the ability to be an orthopedic surgeon is understandably devastating; and the

   reports provided by those who know him at sentencing show a different and important side

   of Lawrence, having helped to turn lives around with surgery and caring, where in many

   cases, Lawrence has obtained outcomes for his patients that meet or exceed what any other

   surgeon could have produced.

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          Ultimately, this Court is asked to vary downward in the context of this case. See

   Pepper v. United States, 562 U.S. 476, 490 (2011); Spears v. United States, 129 S.Ct. 840,

   843 (2009); Kimbrough, 552 U.S. at 101-02.

                                         CONCLUSION

          Lawrence Alexander is utterly ashamed to have sullied his life by his involvement in

   the brace business with Waxman. Waxman, being the mastermind, kingpin, and criminal

   dynamo in this case, adept at manipulation, the leader who was led by his own greed to

   capture millions in fraud proceeds about which there are still unanswered questions, was able

   to take advantage of his position and deservedly received a significant sentence. But there

   are substantial questions regarding whether a prison sentence is necessary for Lawrence.

          As the character letters submitted on Lawrence’s behalf demonstrate, his

   accomplishments in helping turn injured lives around have had a richness far greater than any

   financial reward. As the letters note, much of his work was done without claim for payment

   or consideration of benefit to himself.

          In fashioning a fair and reasonable sentence for Lawrence Alexander, the individual

   circumstances outlined above; the requirement that the sentence may not be greater than

   necessary to achieve the purposes of sentencing under § 3553; and the totality of the

   circumstances of the case, where years of life-saving, and health-saving, work by Lawrence

   Alexander has had both individual and societal benefit, including in the years since the

   offense, warrant a non-imprisonment sentence that will permit him to contribute positively

   to society.



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                               Respectfully submitted,

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   By: /s/ Jose Quiñon                          By: /s/ Frank Quintero, Jr.
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   February 17, 2023




   To Whom it May Concern,



   This letter is in reference to Dr. Lawrence Alexander. I wanted to send a letter on his behalf letting the
   court know that I, Reverend Robert Morrow Jr. have known Dr. Alexander for over two years. He has
   been a consistent attendee at LifePoint Church in Sunrise, FL. I have met with Dr. Alexander weekly for
   the past year. I am very aware of the current situation that he is in and facing, yet I believe that there
   has been meaningful change in his life over the past few years. He has been faithfully attending church
   services weekly and committing to weekly accountability and spiritual support meetings with me.

   He has also had an incredibly positive impact on this community. He has donated both time and
   resources to better our community and the people of Broward County. He has specifically been a major
   influence in helping to be a part of a launch of a non- profit organization called ECHO (Everyday
   Christians Helping Orphans) that provides tangible needs to kids and families that are in foster care and
   adoptive care in Broward County.

   We view Dr. Alexander as a positive influence and contributor to this community and we are grateful for
   him and his family. I will personally continue weekly meetings with him to help encourage him and keep
   him accountable in moving forward in his life for the better.

   Thank you for your time and consideration in this matter. We appreciate all that you do. If you have any
   other questions or need to contact me, please feel free to reach out to me via email at
   lifepoint6@gmail.com or by phone at 954-423-2277.



   Sincerely,




   Reverend Robert K. Morrow Jr.

   Lead Pastor

   LifePoint Church

   89000 NW 44th Street

   Sunrise, FL 33351

   www.cometolife.tv
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   Honorable Judge Moore,

   My name is Matthew Alexander, I am Lawrence Alexander's brother. I am writing in hopes to provide a
   small insight into the person and character of Dr. Lawrence Alexander. This letter comes in light of the
   recent events and events upcoming. I do not posses a expert grasp of the law and the courts workings,
   so I will refrain from speaking on those aspects of this matter. I do however feel a great indicator of a
   persons ability to speak on a situation, or circumstance, is based heavily on a persons experience and
   working knowledge of the given situation. In this case that is my brother.
       My experience dates back over 35 years with Lawrence. 35 plus years of experiences and situations
   that we have worked and helped one another through. Experiences that cannot be simulated and tend to
   transcend expression through written word, but I will still attempt to do so.
       Lawrence has always been a person that has been at the ready to help and do right by those around
   him without any expectation of reciprocity. From taking his off days to help me set pavers by hand at my
   first home, to offering to host my wedding rehearsal when he heard we decided to forgo the tradition for
   various reason. Gestures and actions that were never asked of him, on the contrary, they originated from
   him. Lawrence was and will continue to be a symbol to myself and those who surround him of hard work
   and dedication. Unfortunately, with the events that have transpired he is now also a stark reminder of
   how trust can sometimes deceive us and ferry us into perilous waters. If that trust gets even slightly
   misplaced, the consequence and aftermath can last an eternity.
        Lawrence worked to exhaustion for over two decades to establish himself as a highly skilled and
   professional care giver. I witnessed these efforts firsthand. A physician and surgeon of who works within
   the most delicate and finest of margins, in a field that has no room for error, or lapses in attention. A
   profession in which the slightest error is catastrophic and very possibly fatal. This is a role he has
   burdened himself with for years to proved care and relief to people in desperate need of help.
   With such an extreme responsibility to one's own career, it seems logical to delegate much of what you
   can to a relevant professional. It is probably an aspect of his life he wasn't an expert in, comfortable with
   or have the physical time to manage on his own. So, logic tells you set aside your ego and get some
   help, delegate the task to someone capable. Obviously, if too much trust is placed in said delegated
   professional and they turn out to be a misguided and misrepresenting person, things can quickly take a
   wrong turn. The outcome is now apparent, the wrong person was intrusted with the helm and it's lead to
   a terribly unfortunate situation. A gross anomaly and byproduct of humanities trust paradigm.
        Aside from Lawrence's professional dedication and accomplishments he is a vital and loved member
   of our family. Lawrence has been a brother that I can look at for motivation, advice, support and proof.
   Someone who has never thought twice to lend a hand. He is a good and caring father to his two sons.
   He has always been a present and loving uncle to my two children. Lawrence has even been a beacon
   for his friends around him to the possibilities that can come from dedicating yourself to a goal and
   working tirelessly towards that mark, even if that goal is one of the most difficult to attain. If that is
   looking past naysayers along the route to your cause, then so be it. He stood as the proof.
       From these last 30 years of knowing my brother, I can honestly say that the few details I have heard
   about this situation are inexplicably out character for Lawrence. For me to rationalize what I am hearing,
   as opposed to what I have seen over the duration of Lawrence's life doesn't compute.
         For Lawrence, an individual that has never taken a shortcut in their life, to risk it all for what appears
   to be some type of shortcut is a situation that is drastically out of character. The situation he has found
   himself in, disagrees with the resume of the individuals accomplishments. It contradicts his 40 plus years
   of actions as a father, a son, a brother and a freind.Nevertheless, that is something my family will have
   reconcile over time. My brother chose to procalim his innocence and be judged by GOD and country.
   The day for judgement by country has come and gone. We stand today where we are and this is the
   situation my brother and family find ourselves in. I stand firm in my beliefs and value of my experiences
   over these years with my brother.
        My purpose in this letter was to give some insight into my brother and ask for leniency in sentencing.
   I ask this in hope that someone who has worked so hard, over so many years to accomplish so much,
   be given the opportunity to try and begin picking up and repair what has been lost. Be able to be with
   his children and family to begin rebuilding what has been broken. I humbly request you allow our family
   to begin to rebuild. A minimum sentence, for someone who in my eyes could have only had a
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                                                                                March 1, 2023

   Honorable Judge K. Michael Moore
   United States District Court

                 Subject: Lawrence Michael Alexander

           My son, Lawrence Alexander, has come before you in one of the saddest times in
   our lives.
           Lawrence is a young man who has overcome so much in his life. A young man with
   few friends and a family that looks up to him.
           Lawrence came home to Miami on completion of his training at the Cleveland Clinic
   in Ohio. That weekend I would have my heart attack and Lawrence’s training as a medical
   doctor saved my life. I now have eight stents in my heart and I am able to get on with
   driving.
           Lawrence is a poet and has from the eighth grade written and has won awards; he
   loves solitude where he is able to read.
           I was born in this village high in the hills of Manchester, Jamaica. I was given up
   before age two, and raised by my father’s mother. My mother, Eljander Powell was 16
   years old and my father 17 years; my mother was unable to take care of me. My mother,
   who, at such a young age, had the courage to save my life, would die in her 30’s, leaving
   six children which we found out because a notice on the computer would lead us to them,
   a lifetime of looking.
           My son Lawrence, along with his son, Nate, took me to the village to meet my family,
   and stand on the land where I was born, and my mother buried, a peace that surpasses
   all understanding, a calm of finding one’s self.
           Sir, this is a good young man with a soft heart, he looks like me and I look like my
   mother. He is a Powell, a McNamee, and his given name, Lawrence Michael Alexander
   carries that forward. The Powell side of the family is the same as that of Colin Powell, who
   became Secretary of State and is a cousin.
           Sir, as you look at him, please see the young man who has been trained to be a
   healer, a son, a father, a caring human being.
           Thank you Sir, for allowing me to write to you. Thank you Sir, for reading this and
   getting to know a little part of this young man, my first son.

                                             Sincerely,

                                             Susan Alexander
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   March 2, 2023


   RE: Dr. Lawrence Alexander


   To The Honorable Judge K. Michael Moore,

   I trust you are doing well.

   Thank you for your time and for this opportunity to share a few words about a very special
   young man who I have known from he was a child, Dr. Lawrence Alexander.

   It is an honor to write this letter on behalf of Dr. Lawrence Alexander at the request of his
   mother who is one of my dearest friends, a relative by marriage. I have known the family ever
   since I got married almost forty years ago and known Lawrence for over 30 years. Dr. Alexander
   is my husband’s cousin. From the first time I met this young boy I was intrigued with his
   intellect and admired how mature and reserved he was as opposed to his more rambunctious
   brothers. Lawrence was a very bright young man and shy. In a million years, I never thought
   something like this would have ever happened to Lawrence.

   Lawrence grew up in a family that struggled to make ends meet. His father was not the most
   patient person. His mother was the breadwinner in the family and worked very hard to pay the
   rent, keep the lights on, and put food on the table for Lawrence and his two younger brothers.
   Lawrence’s parents stressed the importance of getting a good education and the value of being
   decent and kind. By example, they taught Lawrence to be a person of integrity, to care for
   others, and to have good manners.

   Lawrence was not a big talker. He was rather reserved. He had only one friend growing up that I
   knew of during all those years of his middle and high schools, and they are still very close
   friends today. The reason I wanted to highlight this is because Lawrence did not trust others
   easily. He was a very deliberate type of person, would think through things carefully, and was
   very cautious about who he trusted. So, the fact that he trusted this individual who apparently
   took advantage of him and others says to me that this individual did an excellent job at
   deceiving Lawrence. Lawrence trusted this person. Lawrence hung out with him like friends and
   this person took advantage of him and others.

   Lawrence was not the type of person who got in trouble when he attended middle and high
   school. He paid attention and stayed focused on his task, his schoolwork. I remember his father
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   telling me how Lawrence would come home after school and help him work in the garage. His
   father worked on repairing woodwork in expensive cars and his father used to say Lawrence
   had such a steady hand. I believe that is part of why he did so well as a spinal surgeon and was
   highly esteemed among his colleagues. Lawrence is brilliant, he is focused, and in addition to his
   many arduous years of studying, he has a steady hand. He has worked extremely hard to build a
   reputable business and has made a difference in the lives of many people in the community by
   utilizing his incredible surgical talents and abilities.

   I know Lawrence Alexander. I have known him practically all his life. And I know he would not
   intentionally get involved in anything deceptive. He is a person of integrity and would be too
   scared to do anything unethical. For all the years I have known him, he was a “stay on the
   straight and narrow” kind of a guy.

   One of the things I will never forget that Lawrence did for me…

   I went back to school to get my doctoral degree later in life. I remember one incident when I
   was feeling distraught and discouraged because the Ph.D. journey was so difficult. A professor
   had told me I was not going to make it in the doctoral program. This was particularly
   devastating because my husband’s entire family had already cut me out of the family for trying
   to further my education. They said I was arrogant and asked, “who does she think she is to go
   and get a PhD?”

   Despite this, Dr. Lawrence Alexander believed in me, encouraged me, and supported me.
   Lawrence always took an interest in my studies. He would constantly ask me how I was doing
   and would tell me I could do it and not to let anyone discourage me from accomplishing my
   dream. I don’t believe I would not have completed my studies without Lawrence’s support. It
   was a significant time during that difficult journey, a pivotal moment, and without that voice
   telling me I could do it, I don’t think I might have finished.

   Lawrence Alexander came from a poor, hardworking family. He was the pride and joy of his
   entire family and they had put all their hopes and dreams in him. Now, instead of celebrating
   his incredible success and accomplishments, the worry and stress of this situation have brought
   his mother closer to her death. Lawrence’s older son has also been distraught over his father’s
   situation. Lawrence Alexander is a good man, a good partner, a good father to his two sons, one
   son is just a young boy. This situation has cost Lawrence way more than he could have ever
   imagined. He has paid a huge price already and I believe he has learned his lesson.

   I have been by his mother’s side many times during these last several months crying with her
   and praying for her son, Lawrence Alexander. This whole awful situation has brought
   Lawrence’s mother to her knees, she loves him so, and I fear, without your pardon, this may
   take her to her grave.
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   I wholeheartedly support this young man, Dr. Lawrence Alexander and believe him to be a
   person who is honest and trustworthy. Please feel free to reach out if I can answer any
   questions or be of any further assistance.

   Sincerely,




   Cherelle Carrington, Ph.D.
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   February 16, 2023


   To whom it may concern:

   Please consider the following missive on behalf of Lawrence Alexander a business associate
   with whom my firm worked over the past twenty (20) years. Although an ally in helping injured
   individuals achieve judicial fairness – Dr. Alexander is remarkable in his even-handed approach.
   Oftentimes, we would find his testimony, both on and off the record, reflecting the reality of the
   injuries with a sense of fairness appreciated by the Defense bar. What marks our two-decade
   relationship is his decency and caring when it comes to patient care. Often at personal expense,
   Dr. Alexander would go above and beyond without concern for financial renumeration to assure
   that patient care was foremost.

   Patients who needed visits or required access to Dr. Alexander, or his team, marveled at his
   accessibility and openness. Often I find myself explaining to my clients the nuances of medical
   care to the best of my ability – yet when Larry was involved no such conversations were
   necessary as all medical procedures and expectations were discussed and reviewed. I gained an
   understanding of the allegations against Dr. Alexander which fly in the face of everything we
   know about Dr. Alexander and his practice. The number of hours he dedicated to achieving his
   goal of becoming an orthopedic surgeon and the needs of his resultant practice would militate
   against any time to engage in nefarious or intentional acts. With no personal knowledge as to the
   allegations asserted, I would simply express that this is a man who devoted himself to patient
   care at every level of his life. We trust that justice will allow for him to return to this calling for
   the benefit of not Dr. Alexander – but our community.

                                          Very Truly Yours,



                                          Lee Friedland
   LF/eb
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   3/3/2023



   To Honorable Judge K. Michael Moore,

   I am writing this letter to advocate for the minimal sentencing to be appointed to Dr. Lawrence
   Alexander. My name is Dr. Lexi Alexander. I am Dr. Lawrence Alexander’s sister-in-law. I have known
   Lawrence for over 15 years. I know him as a highly intelligent, intentional, and dedicated physician. I
   have no personal association with his businesses and cannot attest to any personal information related
   to the trial. I can, however, affirm that he is a reputable man. His wealth and success are, to my
   knowledge, a testament to his hard work, focus, and dedication to the field. It is terribly unfortunate
   that he has found himself in the current position. Knowing the years of work he has invested in building
   his practice, it seems highly unbelievable that he would risk it all by committing the offenses he has
   been accused of. Instead, it is likely the case that he became associated with, and exploited by, an
   individual pursuing him with mal-intent. As such, I implore you to sentence him with minimal time such
   that he can return to his family and continue providing service to clients in need.

   Thank you for your time and consideration.



   Sincerely,

   Lexi Alexander, PhD
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   To the decision maker:

   My name is LaToya Friday, and I have know Lawrence Alexander for at least 8 years. I know
   Dr. Alexander on a professional level, but have also had the pleasure of knowing him on a
   personal level(when he helped me with my son). Dr. Alexander has always presented himself to
   me as the consummate professional. He has demonstrated integrity while caring for his
   patients, and takes extra time with them to ensure their understanding of procedure.
   Dr. Alexander helped me with my teenage son, (that was new to Florida) when he was injured.
   He facilitated and provided care for my son on his own time. He was truly an angel and God
   send in that situation. Dr. Alexander also continued to check on my son and his progress over
   the years. He has always been a pleasure to work with and to be around.
   It was very unfortunate to learn of Dr. Alexander’s troubles with the law, for I have always found
   him to be an upstanding person and having a very kind heart. I will attest to Lawrence
   Alexander’s moral character to be one of integrity.




   LaToya Friday
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